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UNITED STATES DISTRICT COURT... ~je7-;a7 pavin~
DISTRICT OF NEW JERSEY 9 BP ee PG

EMERGENCY PHYSICIANS OF ST.
CLARE’S, LLC; MERCER BUCKS a
ORTHOPEDICS, PC; AND PASCACK , Civil ActonNo. 7) GG IY of
EMERGENCY SERVICES,
ym)

COMPLAINT
On behalf of themselves and all others
similarly situated,

Plaintiffs, (Document electronically filed)

¥.

PROASSURANCE CORPORATION;
PROASSURANCE CASUALTY
COMPANY; AND PROASSURANCE
INDEMNITY COMPANY, INC.,

Defendants.

Plaintiffs on behalf of themselves and on behalf of all others similarly situated, for
their complaint against defendants ProAssurance Corporation (“ProAssurance’’),
ProAssurance Casualty Company (“ProAssurance Casualty”), and ProAssurance

h
Indemnity Company, Inc. (“ProAssurance Indemnity”), allege as follows:

I, NATURE OF THE ACTION
1. This is a class action seeking tedress for defendants’ practice of charging an
unlawfully high price for endorsements to medical malpractice insurance policies that
defendants sold to their policyholders who were either cancelled or non-renewed, or who
voluntarily terminated their coverage.
2. Most malpractice insurance policies sold today are “claims-made” policies.
Claims-made policies cover the policyholder for a claim made (i.e., reported) during the

policy year. The policies cover liability that may arise from an incident of malpractice

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that is reported during the policy year, so long as the policyholder was insured by the
company when the alleged incident of malpractice occurred. They do not, however,
cover alleged incidents of malpractice that occur during the policy year but that are
reported after the policy year, unless the policyholder purchases an endorsement to the
policy to cover claims for injuries that occurred between the inception date of the policy--
known as the “retroactive date’’--and the policy’s termination date, but that are not
reported until after the termination date. Such an endorsement is essential to the policy
and is called an Extended Reporting Period ot “ERP” endorsement, and is also known as
“tail” coverage.

3. An endorsement is an amendment to an existing policy that changes the terms

of the policy and becomes part of the policy. Policies frequently include endorsements.
| Some endorsements provide additional coverage that is not provided under the terms of
the initial policy. Other endorsements exclude coverage that is provided under the terms
of the initial policy. An ERP endorsement neither adds nor excludes coverage during the
policy period but instead extends the time period during which a policyholder may report
a claim arising during the policy period and still be covered.

4, The policies defendants sold to plaintiffs provided that if plaintiffs’ coverage
were terminated plaintiffs had the right to buy an ERP endorsement. The policies did not
set forth a specific price plaintiffs would be required to pay, but rather variously stated:

a. The ERP premium will be computed “in accordance with Pro National's
tules in effect on the termination date."

b. The ERP premium will "be computed in accordance with our rules,

rates, rating plan and premiums applicable on the effective date of the endorsement."

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c. The ERP premium "will be determined in accordance with the Rates
and Rules in effect at the time the Reporting Endorsement is issued.”

5. The rate for plaintiffs' ERP endorsements in effect on the termination date, on
the endorsement issuance date and on the effective date of the endorsement were the rates
set forth in the rate filing governing the terminating policy. Nevertheless, for policies
terminating in 2003, 2004 and 2005, defendants charged plaintiffs the rate applying to
ERP endorsements attaching to policies written after plaintiffs' policies terminated. That
rate was substantially higher than the rate defendants had filed that applied to plaintiffs’
ERP endorsements,

6. This action is brought by plaintiffs as a class action pursuant to Federal Rule of
Civil Procedure 23 on behalf of former policyholders of defendants who purchased ERP
endorsements from defendants and were charged the rate defendants had filed for ERP
endorsements covering claims arising after the termination of plaintiffs’ policies, rather
than the rate they had filed for ERP endorsements covering claims arising during the term
of plaintiffs’ policies.

7. Plaintiffs bring this action on behalf of two separate classes: (1) the class of all
former New Jersey policyholders of defendants terminating during 2003, 2004 or 2005
who purchased ERP endorsements from defendants and were charged the rate defendants
had filed for ERP endorsements covering claims arising after the termination of plaintiffs’
policies, rather than the filed rate for ERP endorsements pertaining to plaintiffs’ policies;
and (2) the class of all former policyholders of defendants terminating during 2003, 2004

or 2005 who purchased ERP endorsements from defendants and were charged the rate

defendants had filed for ERP endorsements covering claims arising after the termination

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of plaintiffs’ policies, rather than the filed rate for ERP endorsements pertaining to
plaintiffs’ policies.
8. Plaintiffs seek relief at law and in equity for the unlawful conduct engaged in

by defendants.

I. JURISDICTION AND VENUE

9. This court has jurisdiction over this action pursuant to 28 U.S.C. §1332, which
confers original jurisdiction of all civil actions upon District Courts where the matter in
controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between citizens of different States.

10. The amount in controversy, without interests and costs, exceeds the sum or
value of $75,000. Plaintiffs are all citizens of the State of New Jersey. Defendant
ProAssurance is incorporated in the State of Delaware, has its principal place of business
in the State of Alabama and is a citizen of the states of Delaware and Alabama.

Defendant ProAssurance Casualty is incorporated in the State of Michigan, and has its
principal place of business in the State of Alabama, and is a citizen of the states of
Michigan and Alabama. Defendant ProAssurance Indemnity is incorporated in the State
of Alabama, has its principal place of business in the State of Alabama, and is a citizen of
the State of Alabama.

11. Venue in this case is founded on 28 USCS § 1391. Venue is proper because a
substantial part of the events giving rise to plaintiffs’ claims occurred in this District. In

addition, defendant ProAssurance regularly does business in this District through its

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operating company ProAssurance Casualty, which also regularly does business in this

District.

Ill. THE PARTIES
Plaintiffs

12, Plaintiff Emergency Physicians of St. Clare’s, LLC, (“EPSC”) is a group
medical practice located at 25 Pocono Road in the Town of Denville in the County of
Morris in the State of New Jersey. EPSC is a limited liability corporation incorporated
under the laws of the State of New Jersey with its principal place of business in the State
of New Jersey.

13. Plaintiff Mercer Bucks Orthopedics, PC, (“MBO”) is a group medical
practice located at 3120 Princeton Pike in the Town of Lawrenceville in the County of
Mercer in the State of New Jersey. MBO is a professional corporation incorporated
under the laws of the State of New Jersey with its principal place of business in the State
of New Jersey.

14. Plaintiff Pascack Emergency Services (“PES”) is a group medical practice
located at 250 Old Hook Road in the Town of Westwood in the County of Bergen in the
State of New Jersey. PES is a subchapter S corporation incorporated under the laws of

the State of New Jersey with its principal place of business in the State of New Jersey.

Defendants
15. Defendant ProAssurance is an insurance company located at 100 Brookwood

Place in the Town of Birmingham in the County of Jefferson in the State of Alabama.

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Defendant ProAssurance is incorporated under the laws of the State of Delaware with its
principal place of business in the State of Alabama. ProAssurance is the fifth largest
writer of medical malpractice insurance in the United States. According to its website, in
2008 it had total assets of $4.3 billion, total revenues of $567 million, and net income of
$178 million. Defendant ProAssurance operates through its operating companies in 48
states and the District of Columbia, and has 23 offices throughout the United States. It
writes medical malpractice insurance through six operating companies:

a. ProAssurance Indemnity, Inc. (formerly known as Medical Assurance
Company, Inc.);

b. ProAssurance Casualty (formerly known as ProNational Insurance
Company);

c. ProAssurance National Capital Insurance Company (formerly known as
NCRIC, Inc.);

d. ProAssurance Wisconsin Insurance Company (formerly known as
Physicians Insurance Company of Wisconsin, Inc.);

e. ProAssurance Specialty Insurance Company, Inc. (formerly known as
Red Mountain Casualty Insurance Company, Inc.); and

f. the Podiatry Insurance Company of America.

16. Defendant ProAssurance Indemnity is ProAssurance’s largest operating
company and is located at 100 Brookwood Place in the Town of Birmingham in the
County of Jefferson in the State of Alabama. Defendant ProAssurance Indemnity is
incorporated under the laws of the State of Alabama with its principal place of business

in the State of Alabama. In 2008, ProAssurance Indemnity accounted for 55% of
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ProAssurance’s gross written premium. In 2008, ProAssurance Indemnity wrote $259
million in premium. Its ratio of incurred losses to earned premiums--its estimate of the
amount it would pay out in claims divided by the premium it earned--was 12.4%. In
2008, ProAssurance Indemnity wrote 95% of its business in eight states: Alabama,
Arkansas, Indiana, Maryland, Missouri, Ohio, Tennessee, and Virginia.

17. Defendant ProAssurance Casualty is ProAssurance’s second largest
subsidiary and is located at 100 Brookwood Place in the Town of Birmingham in the
County of Jefferson in the State of Alabama. Defendant ProAssurance Casualty is
incorporated under the laws of the State of Michigan with its principal place of business
in the State of Alabama. In 2008, it accounted for 28% of ProAssurance’s gross written
premium. In 2008, ProAssurance Casualty wrote $134 million in premium. Its ratio of
incurred losses to earned premiums was 39.8%. In 2008, ProAssurance Casualty wrote
94% of its business in six states: Delaware, Florida, Illinois, Kentucky, Michigan, and

New Jersey.

18. Defendants ProAssurance, ProAssurance Casualty, and ProAssurance
Indemnity have the same chairman, W. Stencil Starnes. In addition, the officers and
directors or trustees of ProAssurance Casualty and ProAssurance Indemnity are
substantially identical. ProAssurance uniformly directs ProAssurance Casualty and
ProAssurance Indemnity, and uniformly applies the same policies with respect to
ProAssurance Casualty and ProAssurance Indemnity.

19, ProAssurance uses the slogan “Treated Fairly,” has entitled its 2008 Annual

Report “Treated Fairly,” and sets forth its “Treated Fairly” pledge on its website. Among

other things, ProAssurance says that its “Treated Fairly” pledge means that policyholders

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can be clear about their professional liability coverage, and that they can expect an

uncommon level of transparency from ProAssurance.

IV. CLASS ALLEGATIONS

20. This action is brought as a class action pursuant to Rules 23(a) and (b) of the
Federal Rules of Civil Procedure. Plaintiffs bring this action on behalf of two different
classes. The first class (“Class I”) consists of all former New Jersey policyholders of
defendants terminating during 2003, 2004 or 2005 who purchased ERP endorsements
from defendants and were charged the rate defendants had filed for ERP endorsements
covering claims arising after the termination of plaintiffs’ policies, rather than the filed
rate for ERP endorsements pertaining to plaintiffs’ policies. The second class (“Class IT”)
consists of all former policyholders of defendants terminating during 2003, 2004 or 2005
who purchased ERP endorsements from defendants and were charged the rate defendants
had filed for ERP endorsements covering claims arising after the termination of plaintiffs’
policies, rather than the filed rate for ERP endorsements pertaining to plaintiffs’ policies.

21. This action is properly brought as a class action for the following reasons:

a. The joinder of either all Class I members or all Class Ii members in one
action is impracticable, and the disposition of the claims of the members of both classes
in a class action will provide substantial benefit to both the parties and the Court. The
number of members of either class is unknown but can be readily determined from
defendants’ records.

b, There is a well-defined community of interest in the questions of law

and fact involved affecting the parties to be represented. The questions of law and fact

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common to the class members predominate over questions that may affect individual
class members, including the following:

(1) Whether defendants calculated the premium for the ERP
endorsement as they promised to calculate it in their policies and rate filings;

(2) Whether defendants are required to charge their insureds the
rates they have filed with state insurance departments;

(3) Whether the policy provisions providing that the premium for
the ERP endorsement must be calculated “in accordance with our rules, rates, rating plan
and premiums applicable on the effective date of the endorsement” or "in accordance
with ProNational's rules in effect on the termination date" permit defendants to charge
plaintiffs the rate defendants have filed for ERP endorsements which provide coverage
for claims arising after the expiration of plaintiffs' policies;

(4) Whether plaintiffs are entitled to the difference between the
premium they paid for their ERP endorsement and the premium they would have paid
had defendants charged them the rate they had filed for plaintiffs' ERP endorsements;

(5) Whether the arbitration clause contained in the Pro Assurance

Casualty policy is enforceable;

c. Plaintiffs are asserting claims that are typical of the claims of Class I as
a whole and Class II as a whole, because plaintiffs purchased ERP endorsements from
defendants and were charged the rate filed for ERP endorsements that cover claims
arising after the termination date of plaintiffs’ policies, rather than the rate filed for ERP
endorsements pertaining to their policy, which covers claims arising on or before the

termination date of plaintiffs’ policies.

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d. Plaintiffs will fairly and adequately represent and protect the interests
of both Class I and Class II in that they have no disabling conflicts of interest that would
be antagonistic to those of other class members.

e. Plaintiffs have retained counsel who are competent and experienced in
the prosecution of class action and insurance litigation.

f. A class action is superior to other available methods for the fair and
efficient adjudication of this controversy for at least the following reasons:

(1) Claims of all class members can be determined by this Court;

(2) This action will cause an orderly and expeditious
administration of the class claims;

(3) This action will result in economies of time, effort and
expense;

(4) This action will insure uniformity of decision.

(5) Without a class action, defendant will continue to retain the
fruits of its wrongful conduct;

(6) This action presents no difficulties that would impede its
management by the Court as a class action.

g. Defendants have acted or refused to act on grounds that apply generally

to both classes, so that final relief is appropriate respecting the classes as a whole.

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V. FACTUAL ALLEGATIONS

Defendants’ rate filings

22. When medical malpractice insurers change their rates in a state, they submit
rate filings to the state's Department of Insurance. Those rate filings set forth the date the
new rates in the rate filing are to take effect, and the type of business those rates will
apply to. Rate filings also set forth either the rate the insurer wtll charge for ERP
endorsements attaching to the policies to which the rate filing applies, or the formula the
company will use to calculate such a rate.

23. On July 25, 2002, defendant ProNational submitted a rate filing to the New
Jersey Department of Banking and Insurance, A memorandum accompanying the filing
stated that the rates contained therein applied to new business incepting and existing
business renewing on or after September 1, 2002. It also set forth the factors ProNational
would apply to the rates for policies incepting or renewing on or after September 1, 2002
to produce the rate for an ERP endorsement attaching to such policies. The rate filing did
not apply to ERP endorsements to policies incepting or renewing before September 1,
2002.

24, On November 6, 2003, ProNational submitted a rate filing to the New Jersey
Department with an effective date of January 1, 2004 for new and renewal business.
According to the filing, the rates for business incepting or renewing on or after January 1,
2004 were 52.6% higher than the rates for business that incepted or renewed before
January 1, 2004. The January 1, 2004 rate filing also included tables which set forth the
rates applying to doctors in each medical specialty for coverage beginning on or after

January 1, 2004, and also the rates ProNational would charge those doctors for an ERP

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endorsement at the end of a policy year that began on or after January 1, 2004. The rates
in that table did not apply to ERP endorsements to policies incepting or renewing before
January 1, 2004.

25 In late 2004 ProNational submitted a rate filing to the New Jersey Depariment
effective for business incepting or renewing on or after January 1, 2005. Like its January
1, 2004 rate filing, that filing contained tables setting forth the rates applying to doctors
in each medical specialty for coverage beginning on or after the effective date of the rate
filing, and also the rates ProNational would charge those doctors for an ERP endorsement
at the end of a policy year that began on or after the effective date of the rate filing.
Those rates were substantially higher than the rates set forth in the January 1, 2004 rate
filing, and did not apply to ERP endorsements to policies incepting or renewing before

January 1, 2005.

Plaintiff Mercer-Bucks Orthopedics, PC

26. On or about December 31, 2000, Plaintiff MBO purchased from defendant
ProAssurance Casualty, an operating company of ProAssurance, a claims-made policy
for the period December 31, 2000 through December 31, 2001.

27. Plaintiff MBO renewed this policy for the period December 31, 2001 through
December 31, 2002, and the period December 31, 2002 through December 31, 2003.

28. Ina letter dated October 30, 2003, defendant ProAssurance Casualty notified
Plaintiff MBO that it was non-renewing its policy effective December 31, 2003, and that
MBC had the right to purchase an ERP endorsement providing coverage for claims

arising before that date but reported after that date.

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29. On or about January 23, 2004, David S. Eingorn, President of MBO, sent
ProAssurance Casualty a check from the MBO account at Yardville National Bank in the
amount of $599,147 for an ERP endorsement which provided coverage for claims arising
before December 31, 2003 but reported after that date.

30. In letters also dated October 30, 2003, defendant ProAssurance Casualty
notified each MBO doctor that his policy was being cancelled and that he could purchase
an Extended Reporting Endorsement to his policy which would provide coverage for
claims arising between the policy’s retroactive date and its cancellation date that were
reported after the cancellation date. In these letters ProAssurance Casualty notified the
doctors of the premium for their ERP endorsement. The doctors receiving such letters,
and their ERP premiums, included the following: David S. Eingorn, $78,502; Edward J.
Ford, $78,502; Michael R. Duch, $74,577; Thomas K. Bills, $78,502; Daren J. Aita,
$66,726; Eric C. Gokcen, $66,726; John P. Nolan, Jr., $66,726; and Ching-Jen Wang,
$19,189. In addition, Constantine A. Solomos, the CEO of MBO, who is not a doctor,
also received such a letter. The ERP premium for Mr. Solomos was $63,534. Each
doctor and Mr. Solomos indicated that they wished to purchase the endorsement, and
countersigned their letters on December 30, 2003.

31. If plaintiff MBO had not purchased an ERP endorsement from defendants,
each of these doctors and paramedical employees would have had no coverage for claims
arising between January 1, 1999 and December 31, 2003 that were reported after
December 31, 2003.

32. Plaintiff MBO's policy provided that the premium for MBO's ERP

endorsement covering incidents arising prior to MBO's termination date shall be

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computed "in accordance with ProNational's rules in effect on the termination date.” The
termination date of MBO's policy was December 31, 2003. Defendant ProNational’s rate
filing effective January 1, 2004 sets forth new business rates, renewal business rates, and
ERP endorsement rates. The ERP rate in that filing is not the rate for an ERP
endorsement covering claims arising through the policy period of MBO's terminating
policy, but rather is the rate for an ERP endorsement covering claims arising under a
policy incepting or renewing on or after January 1, 2004. Nevertheless, although the
rates set forth in this rate filing applied only to ERP endorsements to policies incepting or
renewing on or after January 1, 2004, defendants wrongfully charged plaintiff those
higher rates for the ERP endorsement.

33. Defendants overcharged plaintiff MBO for its ERP endorsement. The correct
rate that should have been charged to MBO for its ERP endorsement was $430,290.
Plaintiff MBO was therefore overcharged by the $168,857 difference between the
$599,147 defendants charged plaintiff MBO for its ERP endorsement and the $430,290

defendants were legally required to charge plaintiff MBO for its ERP endorsement.

Plaintiff Pascack Emergency Services, PA

34. In June 2000 Plaintiff PES purchased from defendant ProAssurance Casualty,
an operating company of ProAssurance, a claims-made policy for the period June 30,
2000 through June 30, 2001.

35. Plaintiff PES renewed this policy for the period June 30, 2001 through June
30, 2002; the period June 30, 2002 through June 30, 2003; and the period June 30, 2003

through June 30, 2004.

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36. Ina letter dated April 29, 2004, defendant ProAssurance Casualty notified
Plaintiff PES that it was non-renewing its policy effective June 30, 2004.

37. Defendant ProAssurance Casualty also notified plaintiff PES that for
$283,084 it could purchase an ERP endorsement to its policy which would provide
coverage for claims arising between the policy’s retroactive date and its termination date
that were reported after the termination date.

38. By check dated July 29, 2004, PES paid defendant ProAssurance Casualty for
ERP endorsements covering the following doctors: Hilal Abboushi; Michelle
Antonowicz; Walter Bakur; Joan Barrett; Glenn Berger; Kenneth Cartaxo; Louise
Donikyan; Mardik Donikyan; Ahdi Elias; Robert Fogliani; Joseph Hyon; Eric Jacobs;
Seyed Javadpoor; Phillip Lastella; Albert Levy; Scott Lippe; Michael Macri; Rafael
Olivares; Restituto Ruiz; Steven Schreiber; Melvin Schrebnick; Steven Silodor; Hasmik
Simonian; Rakesh Singh; Anthony Varriano; Leora Wartofsky.

39 If plaintiff PES had not purchased this ERP endorsement, PES and each of
these doctors would have had no coverage for claims arising on or before June 30, 2004,
that were reported after June 30, 2004.

40. Plaintiff PES's policy provides that the premium for PES's ERP endorsement
covering incidents arising prior to the termination date shall "be computed in accordance
with our rules, rates, rating plan and premiums applicable on the effective date of the
endorsement.” The termination date of PES's policy and the effective date of the ERP
endorsement was June 30, 2004. Defendant ProNational's rate filing effective January 1,
2004 sets forth rates for new business incepting on or after January 1, 2004; for renewal

business renewing on or after January 1, 2004; and for ERP endorsements to policies

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incepting or renewing on or after January 1, 2004. Nevertheless, although the rates set
forth in that rate filing applied only to ERP endorsements to policies incepting or
renewing on or after January 1, 2004, defendants wrongfully charged plaintiff PES those
higher rates for the ERP endorsement.

41. Defendants overcharged plaintiff PES for its ERP endorsement. The correct
tate that should have been charged to PES for its ERP endorsement was $143,287.
Plaintiff PES was therefore overcharged by the $139,797 difference between the
$283,084 defendants charged plaintiff for its ERP endorsement and the $143,287

defendants were legally required to charge plaintiff for its ERP endorsement.

Plaintiff Emergency Physicians of Saint Clare’s

42. On or about May 1, 2002, plaintiff EPSC purchased from defendant
ProAssurance Casualty, an operating company of ProAssurance, a claims-made policy
for the period May 1, 2002 through May 1, 2003.

43. Plaintiff EPSC renewed this policy for the period May 1, 2003 through May
1, 2004, and the period May 1, 2004 through May 1, 2005.

44. On or about January 24, 2005, defendant ProAssurance Casualty sent plaintiff
EPSC a letter confirming receipt of a notice of the cancellation of its policy. The letter
also informed EPSC that for $846,000 it could purchase an ERP endorsement to its
policy which would provide coverage for claims arising between the policy’s retroactive
date and its cancellation date that were reported after the cancellation date, which was

December 31, 2004.

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45, On or about February 21, 2005, Rohan Somar, President and CEO of EPSC,
agreed to purchase for $846,000 an ERP endorsement from ProAssurance Casualty
covering EPSC and all of its doctors and paramedical employees for claims arising on or
before December 31, 2004 that were reported after that date. The doctors covered by that
endorsement included: A. Abreu; D. Berman; V. Diamantopoulos; R. Greaves; A.
Marrocco; R. Melwani; R. Morato; S. Ortega; A. Retirado; J. Rosica; D. Salandy; R.
Somar; R. Varma; C. Milosis; G. Noris; K. Owusu-Dapaah; A. Verceles; S. Amaefima;
N. Lopez; T. Mastrovitch; K. Yalamanchi; E. Losee; J. Gonzalez. If plaintiff EPSC had
not purchased this ERP endorsement, EPSC and each of these doctors and paramedical
employees would have had no coverage for claims arising on or before December 31,
2004 that were reported after December 31, 2004.

46. Plaintiff EPSC's policy provided that the premium for EPSC's ERP
endorsement covering incidents arising prior to EPSC's termination date shall "be
computed in accordance with our rules, rates, rating plan and premiums applicable on the
effective date of the endorsement." The termination date of EPSC's policy -- and the
effective date of EPSC’s endorsement-- was December 31, 2004. Defendant
ProNational's rate filing effective January 1, 2005 sets forth rates effective for claims-
made coverage incepting or renewing on or after January 1, 2005, and also for "Reporting
Endorsement at End of Year" for claims-made policies incepting or renewing on or after
January 1, 2005. Notwithstanding the fact that the ERP endorsement rates contained in
this filing applied only to ERP endorsements to policies incepting or renewing on or
after January 1, 2005, defendants wrongfully charged plaintiff EPSC those higher rates

for its ERP endorsement.

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47 Defendants overcharged plaintiff EPSC for its ERP endorsement. The correct
rate that should have been charged to EPSC for its ERP endorsement was substantially

less than the $846,000 EPSC was billed and paid.

COUNT ONE --Violation of the New Jersey Consumer Fraud Act (As to Class I
Only)

48. Section 2 of the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-2, prohibits
the use of any unconscionable commercial practice, deception, fraud, false pretense, false
promise, or misrepresentation. By charging plaintiffs the higher rates for ERP
endorsements which provide coverage for incidents arising after plaintiffs’ policies had
terminated, defendants engaged in an unconscionable commercial practice which

included deception, fraud, false pretense, false promise, and misrepresentation.

49. Section 2 of the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-2, also
prohibits the knowing concealment, suppression, or omission of any material fact with
intent that others rely upon such concealment, suppression or omission. Defendants
knowingly concealed and suppressed and omitted to state that they were charging
plaintiffs for more costly ERP endorsements which were based on the filed rates for
providing coverage for incidents arising after plaintiffs’ policies had terminated, rather
than the proper premium relating to plaintiffs’ policies.

50. Plaintiffs had no practical alternative but to purchase an ERP endorsement
from defendants because by definition, an ERP endorsement can be purchased only from
the company providing the underlying coverage.

51. As aresult of the wrongful conduct set forth herein, defendants violated the

New Jersey Consumer Fraud Act, N.J.S.A. 56:8.1 et seq.

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Wherefore, plaintiffs demand judgment against defendants for compensatory
damages, treble damages, punitive damages, attorney’s fees, interest, costs of suit and

such further relief as the Court may deem appropriate.

COUNT TWO--Breach of contract (As to Class I and Class II)

52. Plaintiffs incorporate the prior factual allegations as if fully set forth herein.

53. At all relevant times plaintiffs had in effect with defendants policies of
insurance.

54. By the terms of plaintiffs’ policies, defendants were required to determine the
premium for plaintiffs' ERP endorsements in accordance with defendants’ rates and rules
in effect on the effective date of the endorsement, or in accordance with defendants’ rules
in effect on the termination date. Defendants’ rates and rules in effect on those dates
required defendants to charge plaintiffs the rates defendants had filed for ERP
endorsements attaching to policies incepting or renewing on the date plaintiffs’ policies
incepted or renewed.

55. In fact, however, defendants overcharged plaintiffs by wrongfully charging
them the higher rate defendants had filed for ERP endorsements attaching to policies
incepting or renewing after plaintiffs’ policies incepted or renewed, which, unlike
plaintiffs’ endorsements, covered claims arising after plaintiffs’ coverage terminated.

56. Defendants breached their contracts with plaintiffs, and the duty of good faith
and fair dealing which is implied in every contract, by failing to perform in accordance

with the terms of the contract.

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57. Plaintiffs had no practical alternative but to purchase an ERP endorsement
from defendants because by definition, an ERP endorsement can be purchased only from
the company providing the underlying coverage.

58. Plaintiffs at all relevant times complied with all applicable terms of their
contracts.

59. Plaintiffs have suffered significant economic losses as a direct and proximate
result of defendants’ breach of contract and breach of the implied duty of good faith and
fair dealing implied therein, and are entitled to all legally cognizable damages caused
thereby.

Wherefore, plaintiffs demand judgment against defendants for compensatory
damages, attorneys’ fees, interest, costs of suit and such further relief as the Court may

deem appropriate.

COUNT THREE--Accounting (As to Class I and Class IT)

60. Plaintiffs incorporate the prior factual allegations as if fully set forth herein.

61. Defendants have been unjustly enriched by their wrongful conduct, acts and
omissions in connection with having charged plaintiffs an unlawful price for ERP
endorsements to their policies.

62. The price charged by defendants for those endorsements was in excess of any
amounts plaintiffs reasonably would have expected to pay for such endorsements and was
significantly in excess of any amounts defendants should have or rightfully could have

charged for such endorsements.

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63. Plaintiffs had no practical alternative but to purchase an ERP endorsement
from defendants because by definition, an ERP endorsement can only be purchased from
the company providing the underlying coverage.

64. Retention of the benefit conferred upon defendants by plaintiffs would be
unjust.

65. Plaintiffs have suffered damages due to the wrongful conduct, acts and
omissions of defendants as alleged herein. Plaintiffs paid premiums for the ERP
endorsements to their policies far in excess of the amount set forth in the contract and the
appropriate filed rates, and beyond any reasonable expectations of plaintiffs.

66. Wherefore, plaintiffs demand an order or judgment requiring defendants to
disgorge all overcharges to the named plaintiffs and the class, and to provide an
accounting of all payments charged and received by defendants for ERP endorsements
pertaining to policies issued in 2003, 2004 and 2005, plus attorneys fees, interest, costs of

suit and such further relief as the Court may deem appropriate.

V. JURY DEMAND
Please take notice that plaintiffs hereby demand a trial by jury for all issues so

triable.

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VI. CERTIFICATION PURSUANT TO LOCAL RULE 11.2
Pursuant to L.Civ.R. 11.2, the undersigned certifies that the matter in controversy

is not the subject of any other action pending in any court, or of any pending arbitration

or administrative proceeding.

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Dated: December

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